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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

 UNITED STATES OF AMERICA,

                      &

 STATE OF MAINE,

                      Plaintiffs,

         v.                                      No.

 GARY S. WINN, D.O.

                      Defendant.

                                      COMPLAINT

         NOW COME Plaintiffs, the United States of America (the “United States”), on

behalf of its agency the U.S. Department of Health and Human Services (“HHS”), and

the State of Maine (“Maine”), on behalf of its agency the Maine Department of Health

and Human Services (“Maine DHHS”) (together, “Plaintiffs”), and hereby file this

Complaint pursuant to 31 U.S.C. § 3730(a) and 22 M.R.S. § 15, and in support thereof

allege as follows:

I.       SUMMARY OF ACTION

         1.    This is a civil action against Gary S. Winn, D.O. (“Winn” or “Defendant”)

for violations of the federal False Claims Act and analogous Maine state law. From

January 2014 through November 2017 (“Claims Period”), Defendant knowingly

submitted or caused to be submitted false claims for payment to the federal Medicare

program (“Medicare”) and the State of Maine’s MaineCare program (“MaineCare”) for

services that were not performed or were not reasonably medically necessary.
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        2.   As a provider enrolled in the MaineCare and Medicare programs, Winn

had agreed to abide by the rules, regulations, policies, and procedures governing

reimbursement, and to keep and allow access to records and information as required by

the MaineCare and Medicare programs. Among other things, Winn had agreed to

submit claims only for services actually provided and only for reasonably necessary

medical services that are covered under the programs, and only to seek compensation to

which he was legally entitled.

        3.   Despite acknowledging his obligation to submit claims only for services

provided and for services that were reasonably medically necessary, Winn knowingly

submitted claims for services that were not provided or were not reasonably medically

necessary.

        4.   The instant action accordingly seeks treble damages and civil penalties

arising from false claims submitted by Winn to MaineCare and Medicare pursuant to

the federal False Claims Act, 31 U.S.C. §§ 3729-3733, as well as Maine law, see 22 M.R.S.

§ 15.

II.     JURISDICTION AND VENUE

        5.   This Court has jurisdiction over the claims brought by the United States

under the federal False Claims Act pursuant to 28 U.S.C. §§ 1331, 1345 and 31 U.S.C. §

3732(a).

        6.   This Court further has jurisdiction over the claims brought by the State of

Maine pursuant to 28 U.S.C. § 1367 and 31 U.S.C. § 3732(b).

        7.   At all times relevant hereto, Winn was licensed to practice medicine in the

state of Maine. At all times relevant hereto, Winn maintained his medical practice,




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Provider’s Care Family Practice Center (“Provider’s Care”), in Biddeford and Sanford,

Maine.

       8.     This Court has personal jurisdiction over Winn pursuant to 31 U.S.C.

§ 3732(a) both because Winn resides in this District and because his acts proscribed

under 31 U.S.C. § 3729 occurred in this District.

       9.     Venue is proper in this District under 31 U.S.C. § 3732(a) and 28 U.S.C.

§§ 1391(b), 1391(c), because Winn resides in this District and because a substantial part

of the events or omissions giving rise to Plaintiffs’ claims occurred in this District.

III.   PARTIES

       10.    Plaintiff the United States is acting on behalf of its federal agency, HHS.

       11.    Plaintiff the State of Maine is acting on behalf of its state agency, Maine

DHHS.

       12.    Defendant Gary Winn is the former medical director/owner of Provider’s

Care, a family medical practice with offices in Biddeford and Sanford, Maine.

       13.    During the timeframe relevant to this action, Winn was a medical care

provider enrolled in the MaineCare and Medicare programs and regularly submitted

claims for payment to those programs.

IV.    APPLICABLE LAW & REGULATIONS

       A.     The MaineCare Program

       14.    Under Title XIX of the Social Security Act, 42 U.S.C. §§ 1396-1396w, the

United States shares with the states the cost of medical services provided to certain

groups, including low-income families with dependent children, and to aged and

disabled individuals whose income and resources are insufficient to meet the cost of

medical services.


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       15.     Medicaid is a federally assisted grant program for the states. Medicaid

enables the states to provide medical care and related services to needy individuals by

directly paying providers of that care and services. Within broad federal rules, each state

decides who is eligible for Medicaid, the services covered, and payment levels for

services, and each state is responsible for creating policies and procedures regarding the

administration of its program. In Maine, the state’s Medicaid program is called

“MaineCare.”

       16.     MaineCare is a federal health care program paid by Maine state funds, as

well as by grants made to states by HHS, by and through its sub-agency the Centers for

Medicare & Medicaid Services (“CMS”).

       17.     The portion of MaineCare paid by federal funds is known as the Federal

Financial Participation, and differs by state and by fiscal year based on each state’s per

capita income. This percentage contribution is known as the Federal Medical Assistance

Percentage.

       18.     Over the course of the timeframe relevant here, the average Federal

Medical Assistance Percentage provided to the State of Maine was 62.96 percent, with

the State of Maine funding the remaining 37.04 percent.

       19.     Maine DHHS administers the MaineCare program for the State of Maine

on behalf of CMS.

       20.     MaineCare’s regulations, policies, and guidelines require MaineCare-

reimbursable services to be billed by providers using appropriate billing codes and

methodologies.

       21.     As a prerequisite to participating in MaineCare and receiving MaineCare

funds for covered services, providers must also certify their compliance with applicable


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MaineCare laws and regulations as a prerequisite to receiving MaineCare funds for

covered services.

       22.    Presently, and during the timeframe at issue, MaineCare rules governing

covered services, and the submission of claims and reimbursement for those services,

are contained in the MaineCare Benefits Manual.

       23.    The MaineCare Benefits Manual also sets forth the requirements of

provider participation.

       24.    Providers enrolled in MaineCare agree to submit claims for only medically

reasonable and necessary services that are covered under the program, for services

actually provided, and to seek compensation to which the provider is legally entitled.

       25.    Providers also must maintain medical records of sufficient quality to fully

and accurately document the nature, scope, and details of the health care provided to

each MaineCare member. Those records must include “all required signatures,

treatment plans, progress notes, discharge summaries, date and nature of services,

duration of services, [and] titles of persons providing the services,” and providers are

required to “make a notation in the record for each service billed.”

       26.    At all times relevant hereto, Defendant Winn was a participating

MaineCare provider and submitted claims for reimbursement to MaineCare.

       B.     The Medicare Program

       27.    Medicare is a federal insurance program that provides health insurance to

approximately fifty million Americans, most of them elderly or disabled. The Medicare

Program is administered by CMS.

       28.    Medicare Part B is funded by insurance premiums paid by enrolled

Medicare beneficiaries and by contributions from the Treasury. Eligible individuals may


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enroll in Part B to obtain benefits in return for payments of monthly premiums as

established by HHS. See 42 U.S.C. §§ 1395o, 1395r. Medicare payments are often made

directly to service providers, such as medical care providers, rather than to the patient

(also known as the “beneficiary”). This occurs when the provider accepts assignment of

the right to payment from the beneficiary. In such instances the provider submits its bill

directly to Medicare for payment, which is what Winn did in this case.

       29.    All participating providers in Medicare must comply with applicable

federal statutes, regulations, and guidelines in order to be paid by Medicare Part B. A

provider has a duty to have knowledge of the statutes, regulations, and guidelines

regarding coverage for Medicare services.

       30.    Medicare makes clear in a variety of ways that participating providers may

only bill for reasonable and necessary care. For example, the Medicare Benefit Policy

Manual specifically excludes from coverage services that are not reasonable or

necessary, stating “Items and services which are not reasonable and necessary for the

diagnosis or treatment of illness or injury or to improve the functioning of a malformed

body member are not covered.” Medicare’s statutory guidance also makes clear that the

program only pays for services that are “reasonable and necessary for the diagnosis or

treatment of illness or injury . . . .” 42 U.S.C. § 1395y(a)(1)(A).

       31.    Medicare also makes clear in various ways that participating providers

may only bill for services that were actually provided, for example, requiring in the

Medicare Benefit Policy Manual that a participating physician “must render the service

for the service to be covered.”

       32.    Medicare also makes clear that claims by participating providers must be

supported by medical records sufficient to identify the patient; support the


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diagnosis/condition; justify the care, treatment, and services; and document the course

and results of care.

       33.    At all times relevant, Winn was a participating provider in Medicare.

       34.    Thus, at all times relevant, Winn’s claims for payment to the Medicare

Program included explicit or implicit claims that the services for which he sought

payment had been performed, were reasonable and necessary, and were supported by

sufficient medical records.

       35.    As part of his provider agreement with Medicare, Winn explicitly agreed

that “[he] will not knowingly present or cause to be presented a false or fraudulent claim

for payment by Medicare, and [he] will not submit claims with deliberate ignorance or

reckless disregard of their truth or falsity.”

       C.     The Federal False Claims Act

       36.    The False Claims Act, 31 U.S.C. § 3729(a)(1)(A), provides that a person is

liable to the United States Government for three times the amount of damages that the

Government sustains because of the act of that person, plus a civil penalty for each such

claim, for each instance in which the person “knowingly presents, or causes to be

presented, a false or fraudulent claim for payment or approval.”

       37.    The False Claims Act also provides that a person is liable to the United

States Government for three times the amount of damages which the Government

sustains because of the act of that person, plus a civil penalty for each such claim, for

each instance in which the person “knowingly makes, uses, or causes to be made or

used, a false record or statement material to a false or fraudulent claim.” 31 U.S.C. §

3729(a)(1)(G). Records and statements are material to a false or fraudulent claim where




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they have “a natural tendency to influence, or be capable of influencing, the payment or

receipt of money or property.” 31 U.S.C. § 3729(b)(4).

       38.      The False Claims Act defines the term “knowingly” under 31 U.S.C.

§ 3729(b)(1)(A) to mean that a person, with respect to information, “(i) has actual

knowledge of the information; (ii) acts in deliberate ignorance of the truth or falsity of

the information; or (iii) acts in reckless disregard of the truth or falsity of the

information.”

       39.      Pursuant to 31 U.S.C. § 3729(b)(1)(B), no proof of specific intent to

defraud is required.

       D.       Maine Law Civil Liability of Persons Making False Claims

       40.      Maine law, 22 M.R.S. § 15, provides that:

       [a]ny person, firm, association, partnership, corporation or other legal
       entity who makes or causes to be made or presents or causes to be presented
       for payment or approval any claim upon or against the department or upon
       any funds administered by the department, knowing such claim to be
       materially false, fictitious or fraudulent, or who knowingly makes any false
       written statement or knowingly submits any false document material to a
       false, fictitious or fraudulent claim or who knowingly enters into any
       agreement, combination or conspiracy to defraud the department by
       obtaining the payment or approval of any materially false, fictitious or
       fraudulent claim or who knowingly makes or causes to be made a false
       written statement or record material to an obligation to pay or transmit
       money or property to the department or knowingly conceals or knowingly
       and improperly materially avoids or materially decreases an obligation to
       pay or transmit money or property to the department is, in addition to any
       criminal liability that may be provided by law, subject to civil suit . . . [and]
       penalties. . . .

       41.      This Court, pursuant to 31 U.S.C. § 3732(b), has jurisdiction over any

action brought under the laws of any State for the recovery of funds paid by a State or

local government if the action arises from the same transaction or occurrence as an

action brought under Section 3730 of Title 31.



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V.     FACTUAL BACKGROUND

       42.    Winn is the former medical director/owner of Provider’s Care, a family

medical practice with offices in Biddeford and Sanford, Maine.

       43.    In 2005, Winn enrolled as a participating provider in Medicare and

remained a participating provider through 2020.

       44.    In 2010, Winn entered into a Provider Agreement with Maine DHHS to

become a MaineCare provider. The provider agreement was signed by Defendant, who

listed his title as “provider/owner” of Provider’s Care.

       45.    As a provider participating in Medicare and MaineCare, Winn expressly

or implicitly agreed to submit claims only for services actually performed and that were

reasonably medically necessary.

       46.    From January 2014 through November 2017, Winn submitted various

claims to Medicare and MaineCare for services that were not performed or were not

reasonably medically necessary.

       47.    For example, in multiple instances, Winn submitted payment claims to

Medicare and/or MaineCare for Osteopathic Manipulation Treatment (“OMT”) services

for multiple body regions when relevant medical records indicated that OMT was

performed on fewer regions than Winn had claimed, thereby entitling Winn to a lower

payment than claimed. Similarly, Winn submitted payment claims to Medicare and/or

MaineCare for OMT services when relevant medical records did not indicate that any

OMT service was performed.

       48.    Additionally, Winn submitted payment claims to Medicare and/or

MaineCare for smoking and tobacco use cessation counseling visits in addition to

evaluation and management (“E&M”) visits when relevant medical records did not


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indicate that any smoking and tobacco use cessation counseling occurred beyond an

admonishment to the patient to stop smoking, the sort of minimal counseling that may

not be billed separately from a general E&M visit.

       49.    Additionally, Winn submitted payment claims to Medicare and/or

MaineCare for outpatient visits when relevant medical records did not indicate that an

outpatient visit had occurred.

       50.    Additionally, Winn submitted payment claims to Medicare and/or

MaineCare for patient drug testing when relevant medical records did not indicate that

such testing was medically necessary based on patient-specific criteria.

       51.    Additionally, Winn submitted payment claims to Medicare and/or

MaineCare for E&M services associated with OMT treatment when relevant medical

documentation did not support a finding that the E&M services were medically

necessary, significant, and separately identifiable services from the OMT treatment.

VI.    LEGAL CLAIMS

                 Count I: Presenting False or Fraudulent Claims

                   (United States; 31 U.S.C. §§ 3729(a)(1)(A), 3730(a))

       52.    Paragraphs 1 through 51 are realleged as though fully set forth herein.

       53.    Winn, by submitting claims to Medicare and MaineCare for services that

had not been provided or were not reasonably medically necessary, knowingly

submitted or caused to be submitted false or fraudulent claims for payment or approval

in violation of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A), and thereafter received

payments on such false or fraudulent claims.




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       54.    Because of Winn’s acts, the United States sustained damages in an amount

to be determined at trial, and therefore is entitled to treble damages under the False

Claims Act, plus civil penalties for each violation.

     Count II: Maine Law Civil Liability of Persons Making False Claims

                                   (Maine; 22 M.R.S. § 15)

       55.    Paragraphs 1 through 54 are realleged as though fully set forth herein.

       56.    Defendant, by submitting claims to MaineCare for services that had not

been provided or were not reasonably medically necessary, made or caused to be made

or presented or caused to be presented for payment or approval claims upon or against

Maine DHHS or upon funds administered by Maine DHHS, knowing such claims to be

materially false, fictitious or fraudulent, or knowingly made false written statements or

knowingly submitted false documents material to false, fictitious or fraudulent claims or

knowingly entered into an agreement, combination or conspiracy to defraud Maine

DHHS by obtaining the payment or approval of any materially false, fictitious or

fraudulent claim or knowingly made or caused to be made false written statements or

records material to an obligation to pay or transmit money or property to Maine DHHS

or knowingly concealed or knowingly and improperly materially avoided or materially

decreased an obligation to pay or transmit money or property to Maine DHHS, in

violation of 22 M.R.S. § 15.

       57.    Because of Defendant’s acts, Maine sustained damages in an amount to be

determined at trial, and therefore is entitled to threefold damages under 22 M.R.S. § 15,

plus civil penalties of not less than $2,000 for each violation.

                               Count III: Unjust Enrichment

                           (Common Law; 31 U.S.C. § 3732(b))


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       58.    Paragraphs 1 through 57 are realleged as though fully set forth herein.

       59.    Defendant was unjustly enriched through his conduct as detailed herein.

       60.    The circumstances of the matter are such that, in equity, Defendant is

liable to account for and pay such amounts, which are to be determined at trial.

VII.   PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs the United States and Maine request that judgment be

entered in their favor and against Defendants as follows:

       A.     On Count I (Violations of 31 U.S.C. § 3729(a)(1)(A) and (B)), for treble the

              United States’ damages, in an amount to be determined at trial, plus civil

              penalties for each false claim presented, together with all such relief as

              may be just and proper;

       B.     On Count II (Violations of 22 M.R.S. § 15), for threefold Maine’s damages,

              in an amount to be determined at trial, plus civil penalties for each false

              claim presented, together with all such relief as may be just and proper;

       C.     On Counts I and II for an award of fees and costs pursuant to 31 U.S.C. §

              3729 and 22 M.R.S.A. § 15;

       D.     On Count III (Unjust Enrichment), for an accounting and for the amounts

              by which Defendant was unjustly enriched, in an amount to be determined

              at trial, together with costs and interest; and

       E.     All other relief this Court deems just and proper.

VIII. DEMAND FOR JURY TRIAL

       The United States and Maine demand a jury trial in this case pursuant to Federal

Rule of Civil Procedure 38(b) of all claims and issues so triable.



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Dated:     April 27, 2023         Respectfully Submitted,

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DATED:     April 27, 2023         AARON M. FREY
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